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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
          v.                                  )        No. 14 CR 131-4
                                              )
DOMENIKO EVTIMOV,                             )        Judge Ronald A. Guzmán
                                              )
                       Defendant.             )


                          MEMORANDUM OPINION AND ORDER

       For the reasons stated below, the motion to suppress foreign wiretaps [386] is denied.

                                          STATEMENT

       The government has brought a 29-count, 17-defendant indictment alleging an

international bank card fraud/identity theft ring. Defendant Domeniko Evtimov, a U.S. citizen,

has filed a motion to suppress any and all electronic interceptions, overhears, wiretaps, or the

like, as well as any fruits derived therefrom, conducted by either the Bulgarian National Security

Agency or its internal national police, at the behest of the U.S. government and in joint venture

with them, beginning on or about February 9, 2012.

        In summary, the government’s indictment alleges that Evtimov and other suppliers sent

fraudulently-obtained debit and credit card numbers, along with their associated personal

identification numbers (“PINs”), from Bulgaria to codefendant Gheorgui Martov in the United

States. Martov then oversaw a crew in Chicago, who transferred the fraudulently-obtained card

information onto blank cards with magnetic stripes and used those cards (with the associated

PINs) to attempt coordinated fraudulent withdrawals from banks. A portion of the proceeds of

the fraudulent withdrawals was transmitted back to Evtimov in Bulgaria. Pursuant to

information from a cooperating witness (“CW”), the government obtained court authorization to
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intercept wire and electronic communications of two phones used by Martov between October

25, 2011, and December 22, 2011, and January 13, 2012, through February 10, 2012. These

wiretaps disclosed conversations between Martov and Evtimov in which they discussed aspects

of the scheme to defraud, including Evtimov’s transmission of fraudulently-obtained card

numbers online to Martov, reports of the results of efforts to withdraw money using the

fraudulently-obtained numbers, and the occurrence of a wire transfer payment of $1,000.00 by

Martov in the name of Evtimov’s wife in Bulgaria.

       On November 14, 2011, the FBI’s Office of Legal Attache in Bulgaria sent a letter to

 the Prosecutor General’s Office in Bulgaria, with a copy to the Bulgarian State Agency for

 National Security (“SANS” or “DANS”) and the Financial Security Specialized Directorate

 within SANS, describing in general the fraud scheme. The purpose of the letter was “to

 provide information to your service toward furthering dialogue concerning establishing a

 full criminal investigation.” The letter stated:

            The goal of the proposed parallel investigation with DANS is to
            assist the FBI in identifying co-conspirators involved in the
            aforementioned criminal acts in Bulgaria and throughout
            Europe. It is the FBI's hope that telephone subscriber
            information and toll records, bank records, and other
            investigative methods used by DANS can be collected and
            provided to the FBI for prosecution in the United States.

(Def’s. Ex. B, 11/14/11 Letter, Dkt. # 387.) Seven days later, the FBI sent a request that

electronic interceptions made by SANS be marked unclassified in order to allow the U.S.

government to use the information in its investigation and or prosecutions. (Def.’s Ex. C., Dkt. #

387, at Pages 7-8 of 59.)

       Approximately two months later, on January 16, 2012, the FBI sent another

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 communication to SANS. (Def.’s Ex. E, 1/16/12 Letter, Dkt. # 387, at Page 16 of 59.) This

 letter informed the Bulgarian authorities that Martov had been intercepted communicating

 with individuals in Bulgaria using Bulgarian phone numbers regarding ATM skimming,

 cashing out of stolen debit card numbers, and financial institution fraud. (Id., at Page 17 of

 59.) The letter included seven Bulgarian phone numbers along with the names of the possible

 users for some of the users, including a number identified as belonging to Evtimov. The FBI

 requested that SANS “conduct electronic surveillance (wiretap) on the above Bulgarian

 telephone numbers,” obtain subscriber information and toll records, as well as conduct

 “physical surveillance or another type of investigative technique which can be used to

 positively identify the user of each of the telephone numbers.” (Id.) The FBI also indicated it

 “would like the intercepted calls and texts be declassified for future use in United States

 criminal proceedings in order to prosecute the subjects involved in the ATM

 skimming/cash out conspiracy.” (Id.)

       Following the FBI’s request, SANS verified, by reference to Bulgarian

databases, a request to the Sofia City Regional Court, and corroboration by data

already known to SANS prior to the FBI’s request, that Evtimov was the subscriber

of the Bulgarian phone number provided by the FBI.               The Bulgarian authorities’s

decision to seek wiretap authorization was based upon both the information

provided by the FBI and information independently obtained by SANS. The initial

wiretap request was prepared on or about February 2, 2012 by a senior agent of

SANS in accordance with Bulgarian procedure. (Gov’t’s Ex. A, Dkt. # 404-1, ¶¶ 16,

21.) Although the affidavit itself is not available to the United States, we do know


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the request contained a full and comprehensive list of facts and circumstances, a

comprehensive description of i n v e s t i g a t i v e activities, a full identification of

Domeniko Evtimov, a request to use special intelligence means for 60 days, a

request to use surveillance and wiretapping, the names and contact numbers for

investigating officials to be notified of the results, information concerning the

impossibility or exceptional difficulties faced in collecting the necessary information

using other methods, and specified money laundering (under Article 253 of the

Bulgarian Penal Code) as the offense being investigated. (Id. ¶ 22.) The request was

granted by Judge Dimov of the Sofia city court for the time period of February 8,

2012, through April 7, 2012. (Id. ¶ 23.) A 120-day extension was requested on

or abou t April 2, 2012, and also granted by Judge Dimov. (Id. ¶ 25.) On or about

July 26, 2012, SANS sent a formal letter, signed by the Deputy Chairman of

SANS to the Sofia city court to inform the judge that the wiretap was terminated

before the expiration of its allowed time. (Id. ¶ 28.)

       Courts have held that Title III of the Omnibus Crime Control and Safe Streets Act of

1968, 18 U.S.C. §§ 2510–2520, does not apply outside the United States. United States v.

Maturo, 982 F.2d 57, 60 (2d Cir. 1992) (citing Stowe v. Devoy, 588 F.2d 336, 341 (2d Cir.

1978), cert. denied, 442 U.S. 931 (1979)). Evidence obtained from a search of a United States

citizen by foreign law enforcement is generally admissible independent of any Fourth

Amendment analysis absent the “substantial participation” of United States law enforcement.

United States v. Stokes, 726 F.3d 880, 890 (7th Cir. 2013). Only if the foreign law enforcement

officials were essentially agents of the United States law enforcement officials or the cooperation


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between the two was designed to evade the constitutional restraints placed on American law

enforcement officials will a Fourth Amendment analysis be applied. United States v. Getto, 729

F.3d 221, 227-28 (2d Cir. 2013).

       Both the government and the defendant cite the Seventh Circuit’s decision in Stokes, 726

F.3d 880, in support of their positions. Stokes involved a joint operation in which U.S.

Immigration and Customs Enforcement (“ICE”), in conjunction with the Royal Thai Police,

searched Stokes’s home in Thailand and recovered a camera, a computer, and several compact

discs containing thousands of images of Stokes’s sexual activity with Thai boys. Id. at 885.

Based upon information from their own investigation, ICE agents requested assistance from the

Royal Thai Police, and in response, the Royal Thai Police assigned narcotics officers to the

investigation. Thai officers obtained a warrant authorizing a search of Stokes’s home “to locate

and seize any illegal items and narcotics . . . of which possession is considered illegal, or which

was illegally obtained, or which has been used or is intended to be used to commit a crime.” Id.

at 886. Early in the morning of October 9, 2003, ICE agents and the Royal Thai Police executed

the warrant at Stokes’s home. Because Stokes was not at home when they arrived, they waited

for him before entering, and their ultimate search resulted in retrieval of the aforementioned

evidence, which was later admitted into evidence at Stokes’s trial.

       The district court found that because U.S. authorities initiated the investigation of Stokes

and fully participated in the search of his home, the search was a joint operation and some

measure of Fourth Amendment protection applied. The Seventh Circuit agreed based on the

circumstances of that case, and in affirming the trial court’s ruling, stated as follows:

            Evidence obtained in a search of an American citizen by foreign
            authorities operating within their own country is generally

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            admissible in the courts of the United States even if the search does
            not otherwise comply with our law, including the law of the Fourth
            Amendment. See United States v. Emmanuel, 565 F.3d 1324, 1330
            (11th Cir. 2009) (“The general rule is that evidence obtained from
            searches carried out by foreign officials in their own countries is
            admissible in United States courts, even if the search would not
            otherwise comply with United States law or the law of the foreign
            country.”); United States v. Barona, 56 F.3d 1087, 1096 (9th Cir.
            1995); United States v. Peterson, 812 F.2d 486, 490 (9th Cir. 1987);
            United States v. Morrow, 537 F.2d 120, 140 (5th Cir. 1976). But if
            U.S. agents substantially participate in an extraterritorial search of a
            U.S. citizen and the foreign officials were essentially acting as
            agents for their American counterparts or the search amounted to a
            joint operation between American and foreign authorities, the Fourth
            Amendment generally applies. See Emmanuel, 565 F.3d at 1330;
            Barona, 56 F.3d at 1096; Peterson, 812 F.2d at 490; cf. United
            States v. Marzano, 537 F.2d 257, 269–71 (7th Cir. 1976) (holding
            that FBI agents who merely supplied information to Grand Cayman
            police and observed but did not participate in the search by
            authorities in that country did not trigger Fourth Amendment
            protection).

Stokes, 726 F.3d at 890-891.

        Evtimov argues that it “appears rather likely” that it can be shown that the FBI agents

began coordinating with the Bulgarian agents under the authority of the Extradition Treaty with

Bulgaria and the Agreement on Certain Aspects of Mutual Legal Assistance in Criminal Matters

with Bulgaria (“MLAT”). 1 In support of this conclusion, the defendant cites to select portions of

the MLAT Agreement and its Annex. For example, he points out that Section 1, Article 2 of the

MLAT Annex provides that joint investigative teams may be established where deemed

appropriate by the United States of America and the Republic of Bulgaria. Section 2 of Article

2, however, goes on to specify that procedures under which the team is to operate, “such as its

composition, duration, location, organization, functions, purpose, and terms of participation of

1
  A copy of MLAT and its Annex can be found at http://www.state.gov/documents/organization/
188254.pdf.

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team members of a State in investigative activities taking place in another State’s territory, shall

be as agreed between the competent authorities responsible for the investigation or prosecution

of criminal offenses, as determined by the respective States concerned.” MLAT, Art. 2 § 2. This

language, not cited by Evtimov, indicates that the “joint investigative team” procedures address

cooperation in situations in which teams are formed and members are to participate in another

State’s territory.

        Nothing could be further removed from what happened in the case at bar. Here, there

were no teams of agents from different countries and there was no U.S. participation whatsoever

in the search conducted in Bulgaria by Bulgarian authorities -- a critical distinction. In United

States v. Marzano, 537 F.2d 257 (7th Cir. 1976), abrogation recognized on other grounds,

United States v. Loniello, 610 F.3d 488, 496 (7th Cir. 2010), U.S. government agents were

actually present and observed as Grand Cayman Islands police, based upon information the FBI

had provided, searched the home of and arrested a U.S. citizen for prosecution in the United

States. Id. at 270. In that case, because the U.S. agents merely observed and did not actually

participate, the Seventh Circuit deemed those facts insufficient to trigger the application of the

Fourth Amendment. Id. (“FBI agents were present with Superintendent Tricker at various times

during his investigation and search, but there is no evidence that they took an active part in

interrogating or searching the suspects or in selecting evidence to seize. Mere presence of federal

officers is not sufficient to make the officers participants.”).

        As noted, in the instant case, U. S. law enforcement agents were not present and did not

interact or participate in either the procurement of a search warrant by SANS or in the execution

of the warrant. No basis exists for a finding that the Bulgarian authorities were essentially acting


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as agents for their American counterparts or that the wiretap search was a joint operation. In

fact, because the wiretap request is a considered a classified document under Bulgarian

law, Bulgarian authorities have refused to share it with U.S. law enforcement.

       The law is also clear that a mere purpose to assist the U.S. government is insufficient to

transform a search executed entirely by foreign law officers into a government search to which

the Fourth Amendment applies. See id. at 271 (“The defendants violated Grand Cayman law,

according to [Grand Cayman law enforcement], and that is the reason for which [they] arrested

them. That he might also have intended to help the United States is not a sufficient reason to

treat his actions as those of United States agents.”) If U.S. federal agents do not join in the

search, seize any evidence or interrogate any suspects but merely confer with those who do, there

is no basis for requiring that the search must be conducted according to federal standards. See

United States v. Johnson, 451 F.2d 1321, 1322 (4th Cir. 1971) (“Federal agents conferred with

the state officers about the investigation, but they did not assist in obtaining the warrant. Three

federal agents were present when the state officers searched the premises. They did not,

however, join in the search, seize any evidence, or interrogate any suspects. We believe the

district judge correctly held that the federal agents were present simply as observers and that they

did not participate in the search.”). See also United States v. Behety, 32 F.3d 503 (11th Cir.

1994) (neither Drug Enforcement Administration (“DEA”) agents’ communication to

Guatemalan authorities regarding arrival of United States vessel in Guatemala to pick up cocaine

for export, nor DEA agents’ presence at, and videotaping of, search of vessel by Guatemalan

officials triggered exclusionary rule respecting evidence seized during search.).

       Similarly, in a case also involving a formal joint cooperation agreement between the


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United States and Canada, United States v. Baboolal, 05-CR-215, 2006 WL 1674480 (E.D. Wis.

June 16, 2006), report & recommendation adopted by 2006 WL 1942357 (E.D. Wis. July 11,

2006), the defendant alleged that a joint venture existed because United States and Canadian law

enforcement had created the “Toronto Strategic Partnership” to cooperate in the investigation of

telemarketing fraud. In the course of investigating complaints of fraud from U.S. citizens, agents

of the Social Security Administration and the Federal Trade Commission, who were part of the

Toronto Strategic Partnership, developed information that the defendant may be involved in the

alleged fraud. Id. at *3. In obtaining a search warrant, the Canadian authorities utilized the

information obtained by the U. S. agents and information obtained by Canadian investigators.

The court found that although they utilized information developed by U. S. investigators, it was

Canadian law enforcement officers who were enforcing Canadian laws when they chose to

obtain and execute the search warrant. Id. at *4. The court concluded that “[e]ven though there

was cooperation in the investigation, the actual search and seizure was not a joint venture

between U.S. and Canadian law enforcement” and thus the Fourth Amendment did not apply.

Id.

          The caselaw makes clear that the express terms of a law enforcement agreement between

the United States and a foreign government do not establish the parameters of a U.S. court’s

Fourth Amendment analysis. The defendant’s argument concentrates on the types of cooperation

the MLAT Agreement provides for rather than what actually occurred in the case at bar. As

pointed out above, the U.S. authorities were required to make formal requests for information

regarding the investigation and were denied access to some portions of the investigation. The

defendant’s contention that it is unlikely that SANS would have conducted the wiretap absent the


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FBI’s request because SANS already possessed information regarding Bulgarians involved in

card skimming offenses “yet counsel is unaware of any related cases that were charged in the

Bulgarian Courts” is sheer speculation. While the FBI likely gave SANS additional information

upon which to base its application for a wiretap, there is nothing in the record to indicate any

active participation by the FBI in the SANS investigation and thus, no basis for an evidentiary

hearing. Whether SANS has or intends in the future to file charges against these or other

defendants or simply to allow the defendants to be prosecuted in the United States is unknown

and not of great import as it does not bear upon the degree to which there was any active

participation by the U.S. in SANS’ actual search.

       For all of these reasons, the Court finds that the record establishes that the interception of

Evtimov’s phone calls was not a joint operation nor were Bulgarian law enforcement authorities

acting as agents for U.S. law enforcement when they conducted their search.

       Even if the Court were to consider, arguendo, the SANS wiretaps to constitute searches

by U.S. law enforcement, “the Fourth Amendment’s warrant requirement, and by extension the

strictures of the Warrant Clause, do not apply to extraterritorial searches by U.S. agents.” Stokes,

726 F.3d at 893. Instead, in such situations, all the Fourth Amendment requires is that the search

be reasonable under the totality of the circumstances. Id. See also In re Terrorist Bombings of

U.S. Embassies in E. Africa, 552 F.3d 157, 167 (2d Cir. 2008) (“[W]e hold that the Fourth

Amendment’s warrant requirement does not govern searches conducted abroad by U.S. agents;

such searches of U.S. citizens need only satisfy the Fourth Amendment’s requirement of

reasonableness.”).




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        The reasonableness standard is easily satisfied in the case at bar. At the time of SANS’s

initial wiretap request, the FBI had already obtained permission under the strict Fourth

Amendment requirements to conduct wiretaps of Martov’s two telephones, and had recorded

calls between Evtimov and Martov evidencing Evtimov’s participation in the fraudulent scheme.

Thus, the U. S. authorities already knew that Evtimov was involved in the scheme and that it was

his practice to conduct the fraudulent scheme’s business by telephone – making the interception

of the targeted phone numbers a perfectly reasonable next step in the investigation. In addition,

Bulgarian law enforcement authorities corroborated the information provided by the U.S. law

enforcement officers through their own sources and concluded that the search was proper under

Bulgarian law. Finally, the SANS’s wiretap request, which included an extensive affidavit, was

deemed sufficient by the Bulgarian judge who granted the initial permission as well as an

extension. Thus, the wiretap was clearly reasonable based on the totality of the circumstances --

two law enforcement agencies and a duly authorized Bulgarian judicial officer concluded that the

wiretaps were reasonable, and a U.S. federal district court judge had previously concluded that

there was probable cause for the interception of Martov’s phone calls, including those with

Evtimov. 2


2
  Defendant argues that the Court has no independent verification that the wiretap complied with
Bulgarian law – other than “an after-the-fact affidavit from a Bulgarian SANS agent who
apparently petitioned the Sofia City Court.” The defendant’s breezy dismissal of a detailed and
thorough affidavit makes no sense at all. Affidavits from law enforcement officers are
universally understood to be sufficient for courts in the United States to determine probable
cause to issue search warrants. Why should such affidavits from a foreign law enforcement
officer not be sufficient for those same courts to determine the reasonableness of his conduct? If
a detailed and thorough affidavit is not sufficient, then an evidentiary hearing would always be
required. Ironically, it is the very MLAT Agreement the defendant relies upon in arguing there
exists a joint enterprise that prohibits SANS from sharing the actual affidavit submitted in
support of the Sofia City Court’s search warrant. This fact also militates against a finding of joint

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        The standard for approving a wiretap request under Bulgarian law clearly meets the

reasonableness inquiry. First, Bulgarian law restricts the use of wiretaps to persons who are

reported to, and for whom there are reasonable grounds to presume are preparing to commit, are

committing, or have committed a crime which carries a potential punishment of imprisonment of

more than five years. (Gov’t’s Ex. A, Dkt. # 404-1, ¶ 9.) In addition, an application for a wiretap

in Bulgaria must also include an explanation as to why the evidence cannot be collected by

alternative means. (Id. ¶ 11(g).) An application that meets this standard would clearly also be

generally reasonable under a totality of the circumstances reasonableness test.

        Evtimov also argues that he has a good-faith basis to believe that the wiretaps failed to

comply with Bulgarian law. Leaving aside for the moment the fact that strict compliance with

Bulgarian law is not required, the defendant’s good faith belief apparently began as a

conversation with an “experienced criminal attorney in Sofia, Bulgaria.” 3 In his reply brief, the

defendant supplements this clearly inadequate basis by citations to articles in a Bulgarian

newspaper criticizing the appointment of the judge of the Sofia court that oversees wiretaps, as

well as the number of wiretaps that have been approved by her and her deputies. This Court has

great difficulty in giving any substantial credence to newspaper articles complaining about the

number of warrants issued or the manner in which judges in Bulgaria undertake their duties. The

Court finds it not somewhat anomalous that the defendant urges the Court to question a detailed


enterprise.
3
 The general rule is that evidence obtained from searches carried out by foreign officials in their
own countries is admissible in United States courts, even if the search would not otherwise
comply with United States law or the law of the foreign country. See Emmanuel, 565 F.3d at
1330. Thus, a Franks v. Delaware, 438 U.S. 154 (1978), analysis is unwarranted.



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sworn affidavit from a law enforcement officer and rely instead on articles written by an

unknown person for an unknown newspaper whose sociopolitical views, motives and integrity

are completely undisclosed. The government, on the other hand, has submitted a specific and

thorough affidavit from a SANS investigator, which details the process for obtaining wiretaps in

Bulgaria, describes how the process was complied with in this particular case, and states in no

uncertain terms that the wiretap was authorized by the Bulgarian Special Means and Intelligence

Act.

       Defendant also spends a substantial amount of time arguing that the SANS agent’s

affidavit would be inadmissible at trial under F.R.E. 803(6). Likely so, but this is not a trial.

Nor is it necessary for the government to produce the affidavit submitted to the Sofia City Court

in support of the application for the search warrant. Even if the Court found that the Fourth

Amendment requirement of reasonableness applies, it would not be our task at this point to

second guess the Bulgarian judge’s finding that there was a sufficient basis for the search. We

question only the reasonableness of the search given the totality of the circumstances. As to this

there is no doubt. As pointed out above, given what the FBI wiretaps had already disclosed

about Evtimov’s active participation by telephone in the ongoing fraudulent conspiracy, a

wiretap of his phone was a reasonable next step in the investigation and would, in all likelihood,

have resulted in the issuance of a Title III wiretap authorization had he been in this country.

       Finally, in response to the government’s assertion of the good-faith exception to barring

suppression of the Bulgarian wiretaps, the defendant argues that “[t]he notion that U.S. law

enforcement authorities had little to no involvement in procuring these wiretaps is simply not

true. . . . The entire operation was initiated by the U.S. FBI agents.” But of course, even if this


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were an accurate statement, it misses the point. What is clear is that once SANS decided to

procure the search warrant, the U.S. law enforcement authorities had no say whatsoever in how

the warrant was procured or executed. The propriety of the process followed by Bulgarian

authorities is not due to anything the FBI did or failed to do. The record is clear that the warrant

request procedure, the actual affidavit in support, as well as the duration and execution of the

wiretaps themselves were entirely under the control of Bulgarian authorities, with the FBI

reduced to requesting that Bulgarian authorities classify the results of the wiretaps in a manner

that would allow the FBI to view those results.

       For all of these reasons, the motion to suppress is denied.


       SO ORDERED.                                ENTER:


       March 28, 2016                             ________________________
                                                  RONALD A. GUZMÁN
                                                  United States District Judge




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